The full board of the State Board of Workmen's Compensation, in hearing an appeal from an award of a deputy director, acts as a fact-finding body in a de novo investigation, and a finding made by it disapproving the award of the deputy director supported by any competent evidence is binding upon the courts, and the superior court did not err in affirming an award so made.
                        DECIDED OCTOBER 3, 1946.
This is a workmen's compensation case in which Joe McLarty, the defendant in error, and the claimant, contends that he lost the sight of his right eye as the result of an accidental injury arising out of and in the course of his employment by Atlantic Steel Company, the plaintiff in error. Upon the original hearing before the deputy director the company admitted that the claimant, while operating a wire-drawing machine at its plant, accidentally had a quantity of wire-cleaning compound splashed into his right eye, and that he was given treatment for that injury by a company doctor, but it denied that the condition for which he claimed compensation came about as a result of that accident. The evidence adduced upon the hearing was substantially as follows:
The claimant testified that he had been employed by the defendant about twenty-three years, that upon his employment by the defendant he was given a physical examination including an eye test, and accepted for employment without qualification, and *Page 301 
that two years later another eye test was given him by the company and he was not told that anything was wrong with his eyes. The claimant also testified that some twenty-eight years prior to the injury in question he had received a slight injury to his right eye when a piece of wire stuck into his eye scratching the cornea, and that as a result of that old injury the vision in his right eye prior to the injury in question here had been about "one quarter" less than that of his left eye, but that he could, with his right eye alone, see to read ordinary newsprint, but that after the accident he could only distinguish between light and dark with his right eye, and that about four months after the accident he lost even that ability. He testified that the substance which was splashed into his eye caused an extremely painful burning sensation to his eye, and that he went immediately to the "water bottle" to throw water into his eye, that he was sent to Dr. Grady Clay in Atlanta who first examined and treated his eye about two hours after the injury, that he visited Dr. Clay every day for about a week, that Dr. Clay first tested the vision in his right eye on the day he dismissed him from treatment, and that Dr. Clay had never seen him before this injury. The claimant testified at a subsequent hearing that sometime in the fall prior to the injury in the spring he received a scratch to his left eyeball, and that he wore for about a week an extraordinarily dark glass over the left eye while this injury was mending, but that he wore no dark glass over his right eye, and that he worked every day during that period using his right eye in his work, that with the dark glass over his left eye he could not see sufficiently with his left eye to do his work, though he could see some with that eye through the glass. The claimant denied that when he went to Mr. Vandiventer, safety director of the defendant, to secure the dark glasses he told him that the vision in his right eye was impaired to any specific degree.
The claimant's wife testified that they had been married 15 years, that the claimant had no trouble with his right eye prior to this injury, that she knew of no impairment to the sight of that eye prior to this injury; that on the day of the injury the claimant came home and threw himself down on the bed complaining of extreme pain in his eye, that ever since that time he had complained of light hurting his right eye, and that she noticed that the eye *Page 302 
looked "like a blind eye" a few days after the injury and has ever since.
C. J. Vandiventer, a witness for the defendant, testified that he was first employed by the defendant in 1923 and now holds the position of safety director; that about six months prior to this injury the claimant claimed to have received a scratch to his left eyeball from the finger nail of a fellow employee with whom he was engaged in a scuffle, and that the claimant came to him to get a pair of dark glasses to wear, that the claimant told him at that time that his vision in his right eye was impaired about 50% due to an old injury to that eye and that he could not see to work using his right eye alone. Dr. Grady Clay testified for the defendant that he was an eye specialist practicing in Atlanta; that the claimant was sent to him by the defendant on the date of the injury, April 25, 1945, complaining of having gotten acid in his right eye, that he examined the claimant's eye and the examination revealed that he had a slight burn of the conjunctiva, that is the lining of the lid, that there was an old scar on the cornea of the right eye, a very large scar, that the inside of the eye showed a lot of opacity and had a slight cataract, that the vision in the claimant's eye was 2/200, and that after treatment the claimant was discharged as cured of the burn on May 1, 1945. He testified that he did not see the claimant again until August 23, 1945, when the claimant came into his office complaining of sudden blindness in the right eye, that upon examination of the eye he found the same external condition as before, but that "the lens in the eye had been partially dislocated, and he had a detachment of the retina. . . My opinion was that this detachment of the retina is a thing which has followed this old scar on his cornea and the contraction from that had gradually pulled the retina loose in that eye," that the old injury had caused this condition, and that the slight burn to the conjunctiva could not have caused the condition in the claimant's eye.
Dr. F. C. Mims, who was engaged by the board, examined the claimant and rendered a written report which is in the record and in which he reached substantially the same conclusions as testified to by Dr. Clay. Dr. Mims further stated in the report that he had considered the possibility of aggravation of the old injury by this one and had ruled that out. *Page 303 
The deputy director made an award denying compensation, and on appeal to the full board this was reversed and an award made in favor of the claimant for 50% loss of vision to the right eye, the board apparently giving full credence to the testimony of the witness Vandiventer that the claimant had told him before the accident that the vision in his right eye was impaired about 50% as the result of an old injury. The superior court sustained the finding of the full board and the exception here is to that ruling.
It is the contention of the plaintiff in error that the testimony of the claimant to the effect that his loss of vision began immediately after the accident of April 25, 1945, did no more than raise an inference that such loss of vision was due to the accident, and that this inference was conclusively rebutted and must yield to the direct testimony of the physician that the burns which the claimant sustained at that time did not injure the eye itself in any way, and that his blindness resulted from a detachment of the retina brought about by the progressive contraction of the old scar. The contention of the defendant in error is that the case is merely one of a finding of fact by the full board based on conflicting evidence, and that in the absence of fraud, if there is any evidence to support it, such finding is conclusive upon the courts. Upon a careful examination of the record this court agrees with the contention of the defendant in error. The proposition stated is so well established in this State that the citation of authority may be limited to a single case. See Hartford Accident  Indemnity Co. v. Davis, 73 Ga. App. 10
(35 S.E.2d 521), and cases cited.
The full board of the State Board of Workmen's Compensation in hearing an appeal from an award of a deputy director acts as a fact-finding body in a de novo investigation, and may enter an award approving or disapproving the award of the deputy director, and such award of the full board is binding upon the courts if supported by any competent evidence, although there be some evidence to support the finding of the deputy director. AmericanMutual Liability Ins. Co. v. Jenkins, 63 Ga. App. 777, 782
(12 S.E.2d 80). The full board on the appeal from the award of the deputy director, as a fact-finding body, was the sole judge of the credibility of the witnesses. It was authorized to find from the *Page 304 
testimony of the claimant that the substance which splashed into his eye caused an injury which resulted in at least a 50% impairment of the vision in that eye. It has been held that the testimony of an injured person as to the extent of his injuries may be believed in preference to the opinions of "a whole college of physicians" testifying to the contrary. See City of Atlanta
v. Champe, 66 Ga. 659, 663 Southern Ry. Co. v.Tankersley, 3 Ga. App. 548 (1) (60 S.E. 297), Southern Ry.Co. v. Petway, 7 Ga. App. 659 (1) (67 S.E. 886), and GreatAtlantic  Pacific Tea Co. v. Dupee, 71 Ga. App. 148, 153
(30 S.E.2d 365). In the final analysis, the testimony of the doctors as to the cause of the claimant's blindness was in the nature of opinions based on their observation and experience, while the claimant's testimony as to the cause, nature and extent of his injuries was based on personal facts and experience better known to him than to anyone else. See Hall v. General AccidentAssurance Corp., 16 Ga. App. 66 (2), 80 (85 S.E. 600),Bituminous Casualty Corp. v. Jackson, 68 Ga. App. 447
(23 S.E.2d, 191), and Maryland Casualty Co. v. Hopkins, 71 Ga. App. 175
(30 S.E.2d 357).
Pursuant to the act of the General Assembly, approved March 8, 1945, requiring that the full court consider any case in which one of the judges of a division may dissent, this case was considered and decided by the court as a whole.
Judgment affirmed. Broyles, C. J., Sutton, P. J., MacIntyreand Gardner, JJ., concur.